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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

                                                     )
 In re:                                              )   Chapter 11
                                                     )
 MI PUEBLO LATIN MARKET, INC.                        )   Case No. 15-11349 HRT
                                                     )
              Debtor.                                )
                                                     )
                                                     )
 In re:                                              )   Chapter 11
                                                     )
 JAIME ANTONIO CUEVA                                 )   Case No. 15-11350 HRT
                                                     )
              Debtor.                                )
                                                     )
                                                     )
 In re:                                              )   Chapter 11
                                                     )
 DANEEN JANETTE CUEVA                                )   Case No. 15-15169 HRT
                                                     )
              Debtor.                                )   JOINTLY ADMINISTERED UNDER
                                                     )   CASE NO. 15-11349

      JOINT CONSOLIDATED PLAN OF REORGANIZATION PROPOSED BY THE
                 DEBTORS AND THE OFFICIAL COMMITTEE
                       OF UNSECURED CREDITORS


                                 Dated as of October 7, 2015

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                                        INTRODUCTION
         Mi Pueblo Latin Market, Inc. (“Mi Pueblo”), Jaime Antonio Cueva and Daneen Cueva,
 each debtors and debtors-in-possession in the above-captioned Chapter 11 Cases (collectively,
 the “Debtors”) and the Official Committee of Unsecured Creditors appointed in these Chapter 11
 Cases (the “Committee”), hereby propose this Joint Consolidated Chapter 11 Plan of
 Reorganization (the “Plan” and further defined in Article I.B) pursuant to section 1121(a) of
 Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq.

          All Holders of Claims and Equity Interests are encouraged to consult the Disclosure
 Statement before voting to accept or reject the Plan. Among other information, the Disclosure
 Statement contains discussions of the Debtors, the historical background of the Chapter 11 Cases
 and the prepetition period, and a summary and analysis of the Plan. No solicitation materials,
 other than the Disclosure Statement, have been authorized by the Bankruptcy Court for use in
 soliciting acceptances or rejections of the Plan.

        The Bankruptcy Court has scheduled the hearing for approval of the Plan on [______]
 __, 2015 at __:__ _.m. (MST).

                                 ARTICLE I.
      DEFINITIONS, RULES OF INTERPRETATION, COMPUTATION OF TIME AND
                              GOVERNING LAW

A.       RULES OF INTERPRETATION, COMPUTATION OF TIME AND GOVERNING
         LAW

        1.     For purposes of the Plan: (a) whenever from the context it is appropriate, each term,
whether stated in the singular or the plural, shall include both the singular and the plural, and
pronouns stated in the masculine, feminine or neutral gender shall include the masculine, feminine
and the neutral gender; (b) any reference in the Plan to a contract, instrument, release, indenture, or
other agreement or document being in a particular form or on particular terms and conditions
means that such document shall be substantially in such form or substantially on such terms and
conditions; (c) any reference in the Plan to an existing document or exhibit filed, or to be filed,
shall mean such document or exhibit, as it may have been or may be amended, modified or
supplemented; (d) unless otherwise specified, all references in the Plan to Sections, Articles and
Exhibits are references to Sections, Articles and Exhibits of or to the Plan; (e) the words “herein”
and “hereto” refer to the Plan in its entirety rather than to a particular portion of the Plan; (f)
captions and headings to Articles and Sections are inserted for convenience of reference only and
are not intended to be a part of or to affect the interpretation of the Plan; (g) the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply; and (h) any term used in
capitalized form in the Plan that is not defined herein but that is used in the Bankruptcy Code or the
Bankruptcy Rules shall have the meaning assigned to such term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be.

        2.     Except as otherwise specifically provided herein, in computing any period of time
prescribed or allowed by the Plan, the provisions of Bankruptcy Rule 9006(a) shall apply.

       3.      Except to the extent that the Bankruptcy Code or Bankruptcy Rules are applicable,
and subject to the provisions of any contract, instrument, release, indenture or other agreement or

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document entered into in connection herewith, the rights and obligations arising hereunder shall be
governed by, and construed and enforced in accordance with, the laws of the state of Colorado,
without giving effect to the principles of conflict of laws thereof, and as modified by federal
bankruptcy law.

B.     DEFINED TERMS

       Unless the context otherwise requires, the following terms shall have the meanings ascribed
to them below when used in capitalized form herein:

      1.      Administrative Claim means (a) Professional Fee Claims; and (b) Other
Administrative Claims.

         2.     Administrative Claims Bar Date shall mean the thirty (30) days after the
Confirmation Date or such later date as either (a) the Court may establish, or (b) the Debtor may set
in its reasonable discretion by filing an ECF notice on the docket in the Chapter 11 Case extending
such Administrative Claims Bar Date by a minimum of fifteen (15) days.

         3.     Allowed means, with respect to any Claim, except as otherwise provided herein, any
of the following: (a) a Claim that has been scheduled by the Debtors in their Schedules as other
than disputed, contingent or unliquidated and as to which (i) the Debtors or any other party in
interest has not filed an objection or (ii) no contrary proof of Claim has been filed; (b) a Claim that
either is not a Disputed Claim or has been Allowed by a Final Order; (c) a Claim that is Allowed:
(i) in any stipulation with the Debtor of the amount and nature of such Claim executed prior to the
Confirmation Date and approved by the Bankruptcy Court; (ii) in any stipulation with the Debtors
of the amount and nature of such Claim executed on or after the Confirmation Date and, to the
extent necessary, approved by the Bankruptcy Court; or (iii) in any contract, instrument, indenture
or other agreement entered into or assumed in connection with the Plan; (d) a Claim relating to a
rejected executory contract or unexpired lease that (i) is not a Disputed Claim or (ii) has been
allowed by a Final Order; or (e) a Claim that is Allowed pursuant to the terms of the Plan.

      4.       Available Cash means all of the Cash of Reorganized Mi Pueblo in the Distribution
Account.

       5.      Avoidance Actions means all claims and any avoidance, recovery, subordination or
other actions against any Entity arising under the Bankruptcy Code, including sections 506, 510,
542, 543, 544, 545, 547, 548, 549, 550, 551, and 553 of the Bankruptcy Code or otherwise.

       6.     Ballot means each of the ballot forms distributed to each Holder of an Impaired
Claim in which the Holder is to indicate acceptance or rejection of the Plan.

      7.     Bank Debt means the current debt owed by Mi Pueblo to the Lender pursuant to the
Revolving Note and the Credit Card Agreement.

        8.     Bankruptcy Code means Title 11 of the United States Code, 11 U.S.C. §§ 101, et
seq., as now in effect or as hereafter amended.

       9.      Bankruptcy Court means the United States Bankruptcy Court for the District of
Colorado.

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      10.    Bankruptcy Rules means, as the context requires, the Federal Rules of Bankruptcy
Procedure applicable to these Chapter 11 Cases and/or the local bankruptcy rules for the
Bankruptcy Court as now in effect or as the same may from time to time hereafter be amended.

       11.    Bar Date means the deadlines for filing proofs of claim for any Claim, including
Section 503(b)(9) Claims, set pursuant to order of the Bankruptcy Court at June 24, 2015 for non-
governmental units and November 3, 2015 for governmental units.

       12.    Business Day means any day, excluding Saturdays, Sundays or “legal holidays” (as
defined in Bankruptcy Rule 9006(a)).

       13.     Cash means legal tender of the United States of America or equivalents thereof.

       14.      Cash Sweep shall mean a recurring withdrawal from Reorganized Mi Pueblo’s bank
accounts of all cash in excess of the Operating Cushion, to occur within fourteen (14) days after the
end of each full calendar quarter following the Effective Date (or on a more frequent basis as
determined by the Creditor Trustee in his reasonable discretion and in consultation with the CEO),
the proceeds of which shall be deposited into the Distribution Account.

        15.    Causes of Action means all claims, actions, causes of action, choses in action, suits,
debts, dues, sums of money, accounts, reckonings, bonds, bills, specialties, covenants, contracts,
controversies, agreements, promises, variances, trespasses, damages, judgments, third- party
claims, counterclaims, and crossclaims (including, but not limited to, the Avoidance Actions) of the
Debtors that are or may be pending on the Effective Date or instituted by Reorganized Mi Pueblo
after the Effective Date against any Entity, based in law or equity, including, but not limited to,
under the Bankruptcy Code, whether direct, indirect, derivative, or otherwise, and whether asserted
or unasserted as of the Effective Date.

       16.    Chapter 11 Cases means the above-captioned cases commenced under chapter 11 of
the Bankruptcy Code by the Debtors on the Petition Dates currently pending before the Bankruptcy
Court and designated Case Nos. 15-11349, 15-11350, and 15-15169.

      17.    Claim has the same meaning as that term is defined in section 101(5) of the
Bankruptcy Code.

        18.      Class means a category of Holders of Claims or Equity Interests as set forth in
Article III of the Plan.

       19.    Committee means the Official Committee of Unsecured Creditors appointed in these
Chapter 11 Cases.

        20.    Confirmation means the entry of the Confirmation Order, subject to all conditions
specified in Article IX.B herein having been satisfied

       21.      Confirmation Date means the date upon which the Confirmation Order is entered on
the docket of the Bankruptcy Court.




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        22.    Confirmation Hearing means the hearing held by the Bankruptcy Court pursuant to
section 1128 of the Bankruptcy Code to consider Confirmation of the Plan in accordance with
section 1129 of the Bankruptcy Code, as the same may be adjourned from time to time.

       23.    Confirmation Order means the order of the Bankruptcy Court confirming the Plan in
accordance with the provisions of Chapter 11 of the Bankruptcy Code.

         24.   Consummation means the occurrence of the Effective Date.

         25.   Creditor means the Holder of a Claim arising prepetition or pre-confirmation.

       26.    Creditor Trust means that certain trust established pursuant to this Plan and the
Creditor Trust Agreement on the Effective Date to facilitate and secure the repayment of the
Administrative Claims and General Unsecured Claims of Mi Pueblo.

        27.    Creditor Trust Agreement means that certain agreement to be executed by the
Creditor Trustee and Reorganized Mi Pueblo on the Effective Date which will, without limitation,
establish and describe the operation of the Creditor Trust.

       28.     Creditor Trust Expenses shall have the meaning ascribed to such term in the
Creditor Trust Agreement.

        29.    Creditor Trustee means the trustee appointed to administer the Creditor Trust and its
assets, and make distributions to creditors, initially [NAME].

         30.   Cuevas shall mean, collectively, Debtors Jaime Antonio Cueva and Daneen Janette
Cueva.

        31.    Debtors means the debtors-in-possession pursuant to sections 1107(a) and 1108 of
the Bankruptcy Code and as defined in the introductory paragraph of the Plan. When implied by
the context, “Debtor” refers to Reorganized Mi Pueblo. When used in Article XI, “Debtors” refers
to the Debtors, Reorganized Mi Pueblo and the Creditor Trust.

        32.    Disclosure Statement means the disclosure statement for the Plan approved by the
Bankruptcy Court pursuant to section 1125 of the Bankruptcy Code and Bankruptcy Rule 3017
(including all schedules and exhibits thereto), as such disclosure statement may be amended or
modified from time to time.

       33.     Disputed Claims means a Claim, or any portion thereof which is: (i) listed on the
Schedules as unliquidated, disputed or contingent; (ii) the subject of an objection or request for
estimation filed or is otherwise disputed by the Debtors or any other party in interest in accordance
with applicable law and which objection has not been withdrawn, resolved, or overruled by a Final
Order of the Bankruptcy Court; (iii) in excess of the amount scheduled as other than disputed,
contingent or unliquidated, or (iv) otherwise disputed by the Debtors, the Committee or the
Creditor Trustee in accordance with applicable law, which dispute has not been withdrawn,
resolved, or overruled by a Final Order.

         34.   Distribution means any consideration given to any Entity by the Debtors under the
Plan.

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        35.    Distribution Account means a bank account to be established by Reorganized Mi
Pueblo following the Confirmation Date, which Distribution Account shall be set up in a manner
that is acceptable to the Creditor Trustee and that, among other things, ensures that the Creditor
Trustee’s approval will be required for withdrawals or payments from the account.

        36.    Effective Date means the date selected by the Debtors which is a Business Day after
the Confirmation Date on which all conditions specified in Article X.A herein have been satisfied,
and no stay of the Confirmation Order is in effect. When used in the Plan, Effective Date means on
the Effective Date or as soon as reasonably practicable thereafter.

       37.      Entity means a Person, a corporation, a general partnership, a limited partnership, a
limited liability company, a limited liability partnership, an association, a joint stock company, a
joint venture, an estate, a trust, an unincorporated organization, a governmental unit or any
subdivision thereof, the United States Trustee or any other entity.

       38.    Equity Interests means the shares or interests representing ownership of Mi Pueblo
or Reorganized Mi Pueblo, whether or not denominated “stock.”

        39.    Estates means the Estates of the Debtors in the Chapter 11 Cases created pursuant to
section 541 of the Bankruptcy Code upon commencement of the Chapter 11 Cases.

       40.     Estate Representative means the Creditor Trustee, acting in its capacity as the estate
representative pursuant to Section 1123(b)(2)(B) of the Bankruptcy Code.

       41.     Final Decree means the decree contemplated under Bankruptcy Rule 3022.

        42.     Final Order means an order or judgment of the Bankruptcy Court, or other court of
competent jurisdiction, with respect to the subject matter, that has not been reversed, stayed,
modified or amended, and is no longer subject to appeal, certiorari proceeding or other proceeding
for review, re-argument, or rehearing, and as to which no appeal, certiorari proceeding, or other
proceeding for review, re-argument, or rehearing has been timely requested or is then pending and
the time to file any such appeal, certiorari proceeding or other proceeding for review, re-argument,
or rehearing has expired or as to which any right to appeal, petition for certiorari, reargue, or seek
rehearing shall have been waived in writing in form and substance satisfactory to the Debtors.

        43.     Forfeited Unsecured Distributions means undeliverable or unclaimed Distributions
relating to Allowed Unsecured Claims, that are deemed forfeited pursuant to Article V.D.2 of the
Plan.

        44.     General Unsecured Claims means any unsecured Claims against the Debtors’
Estates, other than Administrative Claims and Priority Claims.

       45.    Guaranties means personal guaranties of Jaime or Daneen Cueva of the obligations
of Mi Pueblo to certain of Mi Pueblo’s trade creditors.

       46.     Holder means any Entity owning or holding a Claim.

       47.     Impaired has the meaning given in section 1124 of the Bankruptcy Code.


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       48.     Insider Claims means any Causes of Action or potential Causes of Action held by
 Mi Pueblo, its Estate or the Creditor Trustee against the Insiders of the Debtor (i.e., Jaime and
 Daneen Cueva).

        49.     Lender means J.P. Morgan Chase Bank, N.A. and its successors and assigns.

         50.    Lender Secured Claims means the secured claims of the Lender pursuant to the
 Prepetition Notes.

        51.    Lien means any charge against or interest in property to secure payment of a debt or
 performance of an obligation.

        52.     Litigation Proceeds means any net proceeds received by Reorganized Mi Pueblo on
 account of or in connection with the Causes of Action (whether via prosecution, settlement, sale, or
 otherwise), which Litigation Proceeds shall be automatically deposited into the Distribution
 Account as soon as practicable following receipt thereof by Reorganized Mi Pueblo.

        53.    New Note means that replacement note to be entered into between Reorganized Mi
 Pueblo and the Lender, according to the terms set forth in this Plan.

         54.    New Security Agreement means that replacement security agreement to be entered
 into between Reorganized Mi Pueblo and the Lender pursuant to which Lender shall be granted
 liens consistent with those held by the Lender pre-petition on substantially all of Reorganized Mi
 Pueblo’s assets (including, without limitation, on the proceeds of its collateral) to secure the
 obligations under the New Note.

         55.     Operating Cushion means an amount of Available Cash equal to an amount not less
 than $100,000, which amount Reorganized Mi Pueblo must use its reasonable efforts to maintain at
 all times (other than in the context of a sale of Reorganized Mi Pueblo’s assets or a liquidation, if
 approved by the Creditor Trustee) until Mi Pueblo’s repayment obligations under the Plan have
 been fully satisfied.

         56.    Other Administrative Claims means Claims, other than Professional Fee Claims, for
 costs and expenses of administration of the Chapter 11 Case Allowed under section 503(b) or
 1114(e)(2) of the Bankruptcy Code and entitled to priority pursuant to section 507(a)(2) of the
 Bankruptcy Code incurred after the Petition Date, including, but not limited to: (a) any actual and
 necessary costs and expenses of preserving the Debtor’s Estate and operating the businesses of the
 Debtor (such as wages, salaries, and payments for inventories, leased equipment and premises); (b)
 all fees and charges assessed against the Debtor’s Estate under 28 U.S.C. § 1930; and (c) all
 obligations designated as Allowed Administrative Claims pursuant to an order of the Bankruptcy
 Court.

        57.     Person means a “person” as defined in section 101(41) of the Bankruptcy Code.

        58.     Petition Dates means the date on which the Debtors filed its petition for relief
 commencing the Chapter 11 Cases, February 14, 2015 (for Mi Pueblo and Jaime Cueva) and May
 12, 2015 (for Daneen Cueva).



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        59.     Plan means this Joint Consolidated Chapter 11 Plan of Reorganization, including,
 without limitation, any exhibits, supplements, appendices and schedules hereto, either in its present
 form or as it may be amended, modified, altered or supplemented from time to time in accordance
 with the terms and provisions hereof.

         60.    Prepetition Notes means each of the promissory notes issued by Mi Pueblo to the
 Lender prior to the Petition Date, including: (1) promissory note in the original principal amount
 of $500,000, dated October 20, 2011 and maturing on October 20, 2018; (2) promissory note in the
 original principal amount of $1,050,000, dated February 3, 2010 and maturing on February 3,
 2030; (3) promissory note in the original principal amount of $92,449.86, dated June 28, 2013 and
 maturing on July 1, 2016; (4) promissory note in the original principal amount of $495,000, dated
 October 20, 2010 and maturing on October 20, 2020; (5) promissory note in the original principal
 amount of $770,300, dated October 24, 2012 and maturing on May 1, 2020; and (6) promissory
 note and line of credit in the original principal amount of 150,000, dated February 4, 2011 and
 maturing on February 4, 2014.

        61.     Priority Claim means any Claim accorded priority in right of payment under section
 507(a) of the Bankruptcy Code, other than a Priority Tax Claim or an Administrative Claim.

        62.     Priority Tax Claim means a Claim of a governmental unit of the kind specified in
 sections 502(i) and 507(a)(8) of the Bankruptcy Code.

         63.   Professional means any person or other Entity that has been retained in the Chapter
 11 Cases by a Final Order of the Bankruptcy Court pursuant to sections 327, 328, 363 or 1103 of
 the Bankruptcy Code or otherwise, potentially including, but not limited to, Laufer and Padjen
 LLC; Goldstein & McClintock LLLP; O’Keefe & Associates Consulting, LLC; and Padilla &
 Padilla, PLLC, or (b) seeks compensation or reimbursement of expenses in connection with the
 Chapter 11 Cases pursuant to section 503(b)(4) of the Bankruptcy Code.

         64.     Professional Fee Claims means Claims of Professionals for compensation for legal,
 consulting, accounting and other services and reimbursement of expenses Allowed by the
 Bankruptcy Court under section 330, 331, or 503(b) of the Bankruptcy Code to the extent incurred
 prior to the Effective Date.

        65.     Proponents means the Debtors and the Committee.

         66.     Pro Rata means proportionately so that with respect to an Allowed Claim, the ratio
 of (a)(i) the amount of property distributed on account of a particular Allowed Claim to (ii) the
 amount of that particular Allowed Claim, is the same as the ratio of (b)(i) the amount of property
 distributed on account of all Allowed Claims of the Class in which the particular Allowed Claim is
 included to (ii) the amount of all Allowed Claims in that Class.

         67.     Rejection Claims Bar Date means thirty (30) days after Confirmation Date. All
 parties affected by Article VII of the Plan shall file a proof of claim within that time period.

         68.    Released Parties means any Entity granted a release by the Debtors in Article XI.F.
 of the Plan.

        69.     Releases means the releases described in Article XI.F of the Plan.

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         70.    Reorganized Mi Pueblo means Mi Pueblo, on and after the Effective Date.

          71.    Schedules means the schedules of assets and liabilities and the statement of financial
 affairs filed by the Debtors in accordance with section 521 of the Bankruptcy Code and the Official
 Bankruptcy Forms of the Bankruptcy Rules as such schedules and statements have been or may be
 supplemented or amended.

         72.     Secured Claim means: (a) a Claim (other than a Claim in any way arising from or
 relating to a Claim of a lessor for damages resulting from the termination of a lease of real
 property) that is secured by a Lien on a property in which the Estates have an interest, which Lien
 is valid, perfected and enforceable under applicable law or by reason of a Final Order, or that is
 subject to setoff under section 553 of the Bankruptcy Code, to the extent of the value of the Claim
 Holder’s interest in the Estates’ interest in such property or to the extent of the amount subject to
 setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code; or (b) a
 Claim Allowed under the Plan as a Secured Claim.

         73.    Stock Pledge means that certain collateral assignment by Jaime and Daneen Cueva
 of their ownership interest in Mi Pueblo to the Creditor Trust as more fully described in Article
 VI.E of the Plan.

         74.    Term of the Plan has the meaning ascribed to that phrase in Article VI.G. of the
 Plan.

        75.    Unimpaired, when used with reference to a Claim, means a Claim that is not
 impaired within the meaning of section 1124 of the Bankruptcy Code.

        76.     Unsecured Claim means any Claim against the Debtors other than an Administrative
 Claim, a Priority Tax Claim, a Secured Claim or a Priority Claim.

                                         ARTICLE II.
                                     UNCLASSIFIED CLAIMS

 A.      ADMINISTRATIVE CLAIMS

         1.     Treatment. Each Allowed Administrative Claim not paid prior to Confirmation shall
 be paid by Reorganized Mi Pueblo in full from Available Cash in such amounts as either (1) were
 incurred in the ordinary course of business prior to the Confirmation Date or (2) are Allowed on a
 final basis by the Bankruptcy Court. If Allowed Administrative Claims need to be paid in
 installments due to an insufficient amount of Available Cash, the installments shall be paid on a Pro
 Rata basis from Available Cash, prior to the payment of Claims in Class 8, such that to the greatest
 extent practicable, all Holders of Allowed Administrative Claims receive payments on the same
 schedule and percentage. The Allowed 503(b)(9) Claim of Harvest Meat Company shall be
 separately classified as a Class 7 Claim, and shall be satisfied as set forth in Article III.B.7.

         2.     Bar Dates.

               (a)     Pre-Confirmation Administrative Claims Bar Date and Pre-Confirmation
 Professional Fee Claims Bar Date. All Holders of Administrative Claims (excluding Holders of
 Section 503(b)(9) Claims and Holders of Professional Fee Claims) seeking allowance and payment

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 of such Claims must file a proof of claim with the Clerk of the Bankruptcy Court in a form
 substantially similar to Official Form No. 10 by no later than the Administrative Claims Bar Date.
 All Holders of Professional Fee Claims must file a final application for compensation for pre-
 confirmation fees and expenses and time and expenses incurred immediately post-confirmation
 pursuant to section 330 of the Bankruptcy Code by no later than the Administrative Claims Bar
 Date. Any Holder of an Administrative Claim, including a Professional Fee Claim, that does not
 submit its pre-Confirmation Claim in the manner prescribed in this Article II.A.2 of the Plan shall
 be barred from asserting such pre-confirmation Claim against the Debtor or its Estate, and shall be
 deemed to have waived any right to a Distribution from the Estate or the Creditor Trust with
 respect to that pre-Confirmation Claim. Deadlines for filing Administrative Claims, including pre-
 confirmation Professional Fee Claims, may be extended by the Court or by an ECF notice from the
 Debtor as provided in the definition of the Administrative Bar Date. To the extent practicable,
 Holders of Professional Fee Claims will include in their final applications for pre-Confirmation
 fees and expenses any fees and expenses incurred between the Confirmation Date and the Effective
 Date. From and after the Effective Date, Reorganized Mi Pueblo, acting through its CEO, will be
 able to hire and compensate Professionals, to the extent needed, without Bankruptcy Court
 approval.

 B.       PRIORITY TAX CLAIMS

         Prior to the Effective Date, all Priority Tax Claims for pre-petition taxes entitled to priority
 under 11 U.S.C. § 507(a)(8) shall receive on account of such Allowed Priority Tax Claims, regular
 installment Cash payments over a period not to exceed five years from the Petition Date, with a
 value, as of the Effective Date, equal to the Allowed amounts of such Claims. Payments of these
 Claims shall be made monthly in each month following the Effective Date, and interest on the
 unpaid portion of such Claims shall accrue at the statutory rate applicable to each Claim.

                                     ARTICLE III.
                          CLASSIFICATION AND TREATMENT OF
                       CLASSIFIED CLAIMS AND EQUITY INTERESTS

 A.       SUMMARY

         1.       The categories of Claims and Equity Interests listed below classify Claims and
 Equity Interests for all purposes, including voting, Confirmation and Distribution pursuant to the
 Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. A Claim shall be
 deemed classified in a particular Class only to the extent that the Claim qualifies within the
 description of that Class and shall be deemed classified in a different Class to the extent that any
 remainder of such Claim qualifies within the description of such different Class. A Claim is in a
 particular Class only to the extent that such Claim is Allowed in that Class and has not been paid or
 otherwise settled prior to the Effective Date. In accordance with section 1123(a)(1) of the
 Bankruptcy Code, Administrative Expense Claims and Priority Tax Claims have not been
 classified, but the treatment for such unclassified Claims is set forth in Article II.

         2.      The classification of Claims against and Equity Interests in the Debtor pursuant to
 the Plan is as follows:

      Class                  Claim                           Status                Voting Right


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   1         Lender Secured Claims                     Impaired             Entitled to vote
   2         Secured Claim of Adams County             Impaired             Entitled to vote
             Treasurer
             Secured Claim of City and County of       Impaired             Entitled to vote
   3
             Denver
   4         Secured Claim of the State of             Impaired             Entitled to vote
             Colorado
   5         Secured Claims Against Cuevas             Unimpaired           Deemed to accept Plan
   6         Convenience Claims                        Impaired             Entitled to Vote
   7         503(b)(9) Claim of Harvest Meat           Impaired             Entitled to vote
             Company
   8         Mi Pueblo General Unsecured Claims        Impaired             Entitled to vote
   9         Cueva General Unsecured Claims            Impaired             Entitled to vote
   10        Guaranty Claims                           Impaired             Entitled to vote
   11        Equity Interests in Mi Pueblo             Impaired             Entitled to vote

 B.     TREATMENT OF CLAIMS AND EQUITY INTERESTS

        1.      Class 1 – Lender Secured Claims

                (a)     Classification: Class 1 consists of all Lender Secured Claims.

                 (b)    Treatment: On the Effective Date, Reorganized Mi Pueblo shall issue the
 New Notes to the Holder of the Lender Secured Claims. There shall be six New Notes issued (one
 for each of the Prepetition Notes), with each of the New Notes in a principal amount equal to, for
 each corresponding Prepetition Note, the sum of (i) the principal balance of the Prepetition Note,
 (ii) reasonable fees and costs incurred in collection efforts with respect to that Prepetition Note and
 (iii) accrued non-default interest on the Prepetition Note as of the Effective Date (the parties will
 stipulate to the amount of the foregoing obligations in the New Notes). The New Notes shall each
 bear interest at the 90-day LIBOR rate plus five percent (5.0%) per annum. The New Notes shall
 each have a term of ten (10) years, with principal and interest repayments on the New Note
 commencing with the March, 2016 payment. During the period from the Effective Date until the
 March, 2016 payment, the Holder shall only be entitled to monthly payments of interest.
 Reorganized Mi Pueblo’s obligations under the New Notes shall be secured by the New Security
 Agreement.

                 (c)    Cancellation of Bank Debt: Concurrently with the making of the New
 Notes, the Prepetition Notes shall be cancelled in their entirety, and Reorganized Mi Pueblo’s sole
 obligations to the Lender shall be pursuant to the New Notes.

                 (d)     Voting: Class 1 is Impaired. The Holder of the Lender Secured Claims is
 entitled to vote to accept or reject the Plan.

        2.      Class 2 – Secured Claim of Adams County Treasurer

                (a)    Classification: Class 2 consists of the Secured Claim of the Adams County
 Treasurer against Mi Pueblo.


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                 (b)     Treatment: The holder of the Class 2 Allowed Secured Claim shall receive,
 on account of such Claim, regular installment Cash payments from Reorganized Mi Pueblo over a
 period not to exceed five years from the Petition Date, with a value, as of the Effective Date, equal
 to the allowed amount of such Claim. Payments of this Claim shall be made monthly in each
 month following the Effective Date, and interest on the unpaid portion of the Claim shall accrue at
 the statutory rate applicable to such Claim.

                 (c)     Voting: Class 2 is Impaired. Holders of Class 2 Claims are entitled to vote
 to accept or reject the Plan.

        3.      Class 3 – Secured Claim of City and County of Denver

               (a)    Classification: Class 3 consists of the Secured Claim of the City and County
 of Denver against Mi Pueblo.

                 (b)     Treatment: The holder of the Class 3 Allowed Secured Claim shall receive,
 on account of such Claim, regular installment Cash payments from Reorganized Mi Pueblo over a
 period not to exceed five years from the Petition Date, with a value, as of the Effective Date, equal
 to the allowed amount of such Claim. Payments of this Claim shall be made monthly in each
 month following the Effective Date, and interest on the unpaid portion of the Claim shall accrue at
 the statutory rate applicable to such Claim.

                 (c)     Voting: Class 3 is Impaired. Holders of Class 3 Claims are entitled to vote
 to accept or reject the Plan.

        4.      Class 4 – Secured Claim of State of Colorado

               (a)    Classification:    Class 4 consists of the Secured Claim of the State of
 Colorado against Mi Pueblo.

                 (b)     Treatment: The holder of the Class 4 Allowed Secured Claim shall receive,
 on account of such Claim, regular installment Cash payments from Reorganized Mi Pueblo over a
 period not to exceed five years from the Petition Date, with a value, as of the Effective Date, equal
 to the allowed amount of such Claim. Payments of this Claim shall be made monthly in each
 month following the Effective Date, and interest on the unpaid portion of the Claim shall accrue at
 the statutory rate applicable to such Claim.

                 (c)     Voting: Class 4 is Impaired. Holders of Class 4 Claims are entitled to vote
 to accept or reject the Plan.

        5.      Class 5 – Secured Claims Against Cuevas

                (a)    Classification: Class 5 Consists of the Secured Claims against the Cuevas,
 including: (i) the Cuevas’ mortgage for their personal residence (the “Mortgage”), located at
 18142 Adriatic Place, Aurora, CO 80013 (on which the lender is JP Morgan Chase Bank, N.A.); (ii)
 a note held by Land Rover Financial Group for a 2011 Range Rover owned by Daneen Cueva; (iii)
 a note held by Security Service Federal Credit Union for a 2011 Toyota Tacoma owned by Daneen
 Cueva; and (iv) a note held by Wells Fargo Dealer Services for a 2008 Mercedes Benz owned by
 Jaime Cueva.

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                (b)      Treatment:     The Secured Claims against the Cuevas shall be Allowed
 pursuant to the terms of the loan and security documents evidencing those Claims, and shall not be
 subject to defense, avoidance, recharacterization, disgorgement, subordination, setoff, recoupment,
 or other contest, for all purposes of the Plan and the Chapter 11 Cases. Each Holder of a Secured
 Claim against the Cuevas shall continue to hold its Claims after the Effective Date in accordance
 with the loan and security documents. The Allowed Secured Claims against the Cuevas shall be
 reinstated in their entirety in accordance with section 1124 of the Bankruptcy Code, with any
 monetary defaults thereunder to be cured on or as soon as practicable after the Effective Date.

          With respect to the vacant land located at 1950 Tower Road, Aurora, CO 80011, subject to
 a first lien of JP Morgan Chase Bank, N.A. the Cuevas shall attempt to sell such land, with the net
 proceeds (after costs of sale) to be tendered to the Lender as a partial distribution on its Class 1
 Claim. With respect to a 2013 Infiniti, subject to a first lien of Infiniti Financial Services, the
 vehicle shall be sold or surrendered, with the proceeds to be tendered to the lienholder in full
 satisfaction of its claim, and with any deficiency claim to be treated as a Class 9 Claim.

               (c)    Voting: Class 5 is Unimpaired. Holders of Secured Claims against the
 Cuevas are deemed to accept the Plan.

        6.      Class 6 – Convenience Claims

                (a)   Classification: Class 6 Consists of all General Unsecured Claims against Mi
 Pueblo totaling $1,000 or less, or reduced to $1,000 by the Holder’s election on its ballot for the
 Plan.

               (b)    Treatment: As soon as practicable following the Effective Date, Holders of
 Allowed Class 6 Claims shall receive, on account of and in full satisfaction of such Claims, Cash in
 the amount of 100% of the Allowed amount of such Claims.

                (c)      Voting: Class 6 is Impaired. Holders of Convenience Claims are entitled to
 vote to accept or reject the Plan.

        7.      Class 7 – 503(b)(9) Claim of Harvest Meat Company

             (a)    Classification: Class 7 consists of the Section 503(b)(9) Claim of Harvest
 Meat Company against Mi Pueblo, which was filed in the amount of $166,717.

                (b)   Treatment: As soon as practicable following the Effective Date, the Holder
 of the Allowed Class 7 Claim shall receive, on account of such Claim, Cash in the amount of
 $100,000. In addition, the Holder shall receive an additional $66,717 in Cash, payable in equal
 monthly installments of $1,111.95 for five (5) years, with the first installment to be made on the
 first day of the month following the month in which the Effective Date falls. The monthly
 installment payments will be made from the set aside of Available Cash, prior to Distributions to
 Holders of Class 7 Claims. The Holder of the Class 7 Claim shall not receive interest on account
 of its Claim.

                 (c)     Voting: Class 7 is Impaired. Holders of Class 7 Claims are entitled to vote
 to accept or reject the Plan.


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        8.      Class 8 – Mi Pueblo General Unsecured Claims

              (a)    Classification: Class 8 consists of all General Unsecured Claims, other than
 Convenience Claims, against Mi Pueblo.

                (b)    Treatment:      Following the Effective Date and payment in full of
 Convenience Claims, all Available Cash, net of Available Cash required to pay (i) Administrative
 Claims; and (ii) the Class 7 Claim, shall be set aside for Distribution to Holders of General
 Unsecured Claims on a Pro Rata basis. Holders of General Unsecured Claims shall receive the
 foregoing Distributions until they have been paid in full, without interest.

                 (c)     Voting: Class 8 is Impaired. Holders of General Unsecured Claims are
 entitled to vote to accept or reject the Plan.

        9.      Class 9 – Cueva General Unsecured Claims

              (a)     Classification: Class 9 consists of all General Unsecured Claims, other than
 Guaranty Claims, against the Cuevas.

               (b)     Treatment: On the Effective Date, or as soon as practicable thereafter,
 Holders of Allowed Class 9 Claims shall receive, on account of and in full satisfaction of such
 Claims, Cash in the amount of 100% of the Allowed amount of such Claims from the Cuevas.

                  (c)     Voting: Class 9 is Impaired. Holders of Cueva General Unsecured Claims
 are entitled to vote to accept or reject the Plan.

        10.     Class 10 – Guaranty Claims

                (a)    Classification: Class 10 consists of all Claims against the Cuevas on account
 of the Guaranties.

                (b)     On the Effective Date, the Guaranties shall remain in effect until discharged
 pursuant to Article XI.A; provided, however, that any holders of such Guaranties shall be enjoined
 from commencing or continuing any judicial, administrative or other proceeding against the
 Cuevas to enforce the Guaranties, or to obtain possession of property of the Cuevas based upon the
 Guaranties, for so long as Reorganized Mi Pueblo is compliant with its repayment obligations to
 Holders of Class 8 Claims under this Plan. Upon the expiration of the Term of the Plan under
 Article VI.G, the Guaranties shall be discharged in their entirety.

                (c)      Voting: Class 10 is Impaired. Holders of Guaranty Claims are entitled to
 vote to accept or reject the Plan.

        11.     Class 11 – Equity Interests

                (a)    Classification: Class 11 consists of all Equity Interests.

                (b)    Treatment: On the Effective Date, all Equity Interests in Mi Pueblo shall be
 retained by Jaime and Daneen Cueva as the equity of Reorganized Mi Pueblo subject to the Stock
 Pledge in favor of the Creditor Trust as set forth in Article VI.E. below, for purposes of providing


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 substantial tax savings to Reorganized Mi Pueblo. The Stock Pledge and the Confirmation Order
 shall require that so long as the Creditor Trust administers this Plan, the Creditor Trustee shall have
 the sole power to vote Mi Pueblo’s Equity Interests, subject to the provisions of Article VI.E of the
 Plan. No distributions to Holders of Class 11 Interests shall be made for so long as the Creditor
 Trust administers this Plan.

                 (c)    Voting: Class 11 is Impaired. Holders of Equity Interests have agreed to
 vote to accept the Plan.

                                     ARTICLE IV.
                             TREATMENT OF DISPUTED CLAIMS

 A.     OBJECTIONS TO CLAIMS; PROSECUTION OF DISPUTED CLAIMS

         After the Effective Date, the Creditor Trustee, acting as the Estate Representative, shall
 object (and shall assume control of and continue prosecuting, any outstanding objections by the
 Debtor) to the allowance of Disputed Claims filed with the Bankruptcy Court. All objections shall
 be litigated to Final Order; provided, however, that the Creditor Trustee shall have the authority
 and reasonable discretion to file, settle, compromise or withdraw any objections to Claims, without
 approval of the Bankruptcy Court. The Confirmation Order shall specifically grant the Creditor
 Trustee, as Estate Representative, such authority.

         Objections to Disputed Claims shall be filed by no later than one hundred eighty (180) days
 after the Effective Date (the “Claims Objection Deadline”); provided, however, that the Creditor
 Trustee shall have the option to seek extensions of the Claims Objection Deadline by filing a
 motion with the Bankruptcy Court pursuant to Bankruptcy Rule 9006 prior to expiration of the
 Claims Objection Deadline. The Creditor Trustee, in consultation with Debtors, shall have
 reasonable discretion to decide not to review and/or object to proofs of Claim, including, without
 limitation, to decide not to object to claims below a certain dollar amount to the extent the Debtors
 believe that such review and/or objection would be uneconomical.

         No Bankruptcy Court approval shall be required in order for the Creditor Trustee to settle
 and/or compromise any Claim, objection to Claim, cause of action, or right to payment of or
 against the Debtor or its Estate. Nor shall Bankruptcy Court approval be required for the Creditor
 Trustee to retain counsel to prosecute objections to Disputed Claims.

 B.     ESTIMATION OF CLAIMS

         The Debtors, or after Confirmation, the Creditor Trustee, acting as the Estate
 Representative, may at any time request that the Bankruptcy Court estimate any contingent or
 Disputed Claim pursuant to section 502(c) of the Bankruptcy Code regardless of whether the
 Debtors or Reorganized Mi Pueblo previously have objected to such Claim or whether the
 Bankruptcy Court has ruled on any such objection. The Bankruptcy Court will retain jurisdiction
 to estimate any Claim at any time during litigation concerning any objection to any Claim,
 including, without limitation, during the pendency of any appeal relating to any such objection.
 Subject to the provisions of section 502(j) of the Bankruptcy Code, in the event that the Bankruptcy
 Court estimates any contingent or Disputed Claim, the amount so estimated shall constitute the
 maximum allowable amount of such Claim. If the estimated amount constitutes a maximum
 limitation on the amount of such Claim, the Debtors, or after Confirmation, the Creditor Trustee,

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 may pursue supplementary proceedings to object to the allowance of such Claim. All of the
 aforementioned objection, estimation and resolution procedures are intended to be cumulative and
 not necessarily exclusive of one another.        Claims may be estimated and subsequently
 compromised, settled, withdrawn or resolved by any mechanism approved by the Bankruptcy
 Court.

 C.     PAYMENTS AND DISTRIBUTIONS ON DISPUTED CLAIMS

        No interest shall be paid on Disputed Claims that later become Allowed Claims or with
 respect to any Distribution to any Holder except as specifically set forth in this Plan. No
 Distribution shall be made with respect to all or any portion of any Claim, a portion of which or all
 of which is a Disputed Claim, pending the entire resolution thereof.

          Notwithstanding the foregoing, Reorganized Mi Pueblo will set aside for each Holder of a
 Disputed General Unsecured Claim such amount as is necessary to provide required Distributions
 as if that Claim were an Allowed Claim, either based upon the amount of the Claim as provided in
 the Plan, the amount of the Claim as filed with the Bankruptcy Court, or the amount of the Claim
 as estimated by the Bankruptcy Court.

         At such time as a Disputed General Unsecured Claim becomes, in whole or in part, an
 Allowed General Unsecured Claim, Reorganized Mi Pueblo shall distribute to the Holder thereof
 the distributions, if any, to which such Holder is then entitled under the Plan or the Confirmation
 Order. Reorganized Mi Pueblo shall make any such Distribution, as soon as practicable after the
 date that the order or judgment of the Bankruptcy Court allowing such Disputed Claim becomes a
 Final Order.

                                           ARTICLE V.
                                         DISTRIBUTIONS

 A.     METHOD OF DISTRIBUTIONS TO CREDITORS

         Distributions to creditors of Mi Pueblo made pursuant to the Plan shall be made by
 Reorganized Mi Pueblo from the Distribution Account at the direction of the Creditor Trustee, and
 distributions to creditors of the Cuevas shall be made by the Cuevas from their accounts, consistent
 with the provisions of this Plan. Subject to the general requirements of the Plan and the treatment
 of the various Classes of Claims hereunder, the timing of individual Distributions to creditors of Mi
 Pueblo shall be determined by the Creditor Trustee, in his or her sole and complete discretion, after
 the creation of appropriate reserves as determined by the Creditor Trustee in an amount that would
 be sufficient to make Pro Rata Distribution on account of applicable Disputed Claims. The
 Creditor Trustee, in determining the timing of Distributions, may also consider, among other
 things, the costs associated with making Distributions to ensure that the issuance of Distributions is
 efficient, provided, however, that when the amount of distributable funds in the Distribution
 Account exceeds $100,000, the Creditor Trustee will generally take steps to make a distribution
 reasonably promptly (and may make distributions more frequently in his discretion).

        Withdrawals and Distributions from the Distribution Account shall require the approval of
 the Creditor Trustee. Funds in the Distribution Account may not be used for purposes other than
 Distributions, provided, however, that if the Creditor Trustee determines that (a) funds in the
 Distribution Account are urgently needed for corporate purposes of Reorganized Mi Pueblo (such

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 as to prevent a short-term cash flow crisis or to take advantage of an opportunity to expedite
 Distributions in the aggregate) and (b) that using such funds for corporate purposes of Reorganized
 Mi Pueblo will expedite or make further Distributions more likely, the Creditor Trustee may, but
 shall not be obligated to, allow Reorganized Mi Pueblo to borrow funds from the Distribution
 Account on a short-term basis and on terms acceptable to the Creditor Trustee in its business
 judgment. Pending Distribution, the Creditor Trustee shall have the right, but not the obligation, to
 have funds in the Distribution Account invested, but only in the same manner that it would be
 allowed to invest funds of the Creditor Trust per the Creditor Trust Agreement.

 B.     MEANS OF CASH PAYMENT

         Cash payments made pursuant to the Plan shall be in U.S. dollars and, at the option and in
 the sole discretion of the Creditor Trustee, be made by (a) checks drawn on or (b) wire transfers
 from a domestic bank acceptable to the Creditor Trustee.

 C.     DELIVERY OF DISTRIBUTIONS

         Subject to the provisions of Bankruptcy Rule 2002(g), and except as otherwise provided
 herein, Distributions and deliveries to Holders of Allowed Claims shall be made at the address of
 each such Holder as set forth on the Schedules filed with the Bankruptcy Court, unless superseded
 by the address set forth on timely filed proof(s) of Claim or some other writing filed with the
 Bankruptcy Court and served upon the Creditor Trustee and Reorganized Mi Pueblo (the
 “Distribution Address”).

 D.     UNDELIVERABLE DISTRIBUTIONS

        1.      Holding of Undeliverable Distributions

         If any Distribution to any Holder of an Allowed Claim is returned to Reorganized Mi
 Pueblo as undeliverable, no further Distributions shall be made to such Holder unless and until the
 Creditor Trustee Reorganized Mi Pueblo is notified by such Holder, in writing, of such Holder’s
 then-current address. Upon such an occurrence, the appropriate Distribution shall be made as soon
 as reasonably practicable after such Distribution has become deliverable. All Entities ultimately
 receiving previously undeliverable Cash shall not be entitled to any interest or other accruals of any
 kind. Nothing contained in the Plan shall require the Creditor Trustee or Reorganized Mi Pueblo to
 attempt to locate any Holder of an Allowed Claim.

        2.      Failure to Claim Undeliverable Distributions

         Any Holder of an Allowed Claim entitled to an undeliverable or unclaimed Distribution that
 does not provide notice of such Holder’s correct address to the Creditor Trustee within sixty (60)
 days after the date of the applicable Distribution made by Reorganized Mi Pueblo to such Holder,
 shall be deemed to have forfeited its Claim for such undeliverable or unclaimed Distribution and
 shall be forever barred and enjoined from asserting any such Claim for an undeliverable or
 unclaimed Distribution (if such Holder subsequently notifies the Creditor Trustee Reorganized Mi
 Pueblo of its then-current address, it will only be entitled to a Pro Rata Share of remaining future
 Distributions, if any). Any unclaimed Distributions that are forfeited pursuant to this provision will
 be returned to the Distribution Account for re-Distribution in accordance with the Plan.


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 E.     COMPLETION OF DISTRIBUTIONS

        Upon the Creditor Trustee determining that all Distributions required under the Plan have
 been completed, any remaining funds in the Distribution Account will be returned to Reorganized
 Mi Pueblo.

 F.     WITHHOLDING AND REPORTING REQUIREMENTS

         In making Distributions hereunder, Reorganized Mi Pueblo shall comply with all tax
 withholding and reporting requirements imposed by any U.S. federal, state or local or non-U.S.
 taxing authority, and all Distributions hereunder shall be subject to any such withholding and
 reporting requirements. The Creditor Trustee and/or Reorganized Mi Pueblo shall be authorized
 to take any and all actions that may be necessary or appropriate to comply with such withholding
 and reporting requirements.

          Notwithstanding any other provision of the Plan, (a) each Holder of an Allowed Claim that
 is to receive a Distribution pursuant to the Plan shall have sole and exclusive responsibility for the
 satisfaction and payment of any tax obligations imposed by any governmental unit, including
 income, withholding and other tax obligations, on account of such Distribution, and (b) the
 Creditor Trustee reserves the option, in his discretion, to not have Reorganized Mi Pueblo make a
 Distribution to or on behalf of such Holder pursuant to the Plan unless and until such Holder has
 made arrangements satisfactory to the Creditor Trustee for the payment and satisfaction of such
 tax obligations or has, to the Creditor Trustee’s satisfaction, established an exemption therefrom.

         Any Distributions to be made pursuant to the Plan shall, pending the implementation of
 such withholding and reporting requirements, be treated as undeliverable pursuant to Article V.D
 of the Plan. For the avoidance of doubt, and not to in any way limit the Creditor Trustee’s
 discretion over Distributions, the Creditor Trustee may withhold from amounts distributable to
 any entity any and all amounts, determined in the Creditor Trustee’s reasonable sole discretion, to
 be required by any law, regulation, rule, ruling, directive, or other government equivalent of the
 United States or of any political subdivision thereof.

        Any and all distributions of Creditor Trust Assets shall comply with all applicable laws
 and regulations, including, but not limited to, applicable federal and state tax and securities laws.

 G.     TAX IDENTIFICATION NUMBERS

          Prior to making Distributions hereunder, Reorganized Mi Pueblo shall require all Holders
 to furnish to the Creditor Trustee its Employer or Taxpayer Identification Number as assigned by
 the Internal Revenue Service. Forms allowing Holders to provide this information will be mailed
 to the Distribution Address for each Holder prior to Distributions being made, and Holders shall
 have forty five (45) days from the date of mailing to return the executed forms. Any Holder that
 fails to return the executed forms within such forty five (45) day period shall be deemed to have
 forfeited its right to receive Distributions and shall be forever barred and enjoined from asserting
 any right to Distributions made prior to Reorganized Mi Pueblo receiving its executed form, with
 such Holders only entitled to a Pro Rata Share of remaining future Distributions, if any. Any
 Distributions that are forfeited pursuant to this provision will be returned to the Distribution
 Account for re-Distribution in accordance with the Plan.


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 H.     TIME BAR TO CASH PAYMENTS

        Checks issued by Reorganized Mi Pueblo on account of Allowed Claims shall be null and
 void if not negotiated within forty-five (45) days from and after the date of issuance thereof.
 Requests for reissuance of any check shall be made directly to the Creditor Trustee by the Holder
 of the Allowed Claim. Any claim relating to such voided check shall be made on or before sixty
 (60) days after the date of issuance of such check, and if no such request is timely submitted, the
 Holder at issue shall be deemed to have forfeited its Claim for such Distribution and shall be
 forever barred and enjoined from asserting any right to such Distribution. Any Distributions that
 are forfeited pursuant to this provision will be returned to the Distribution Account for re-
 Distribution in accordance with the Plan.

 I.     INTEREST

         Unless otherwise required by applicable bankruptcy law, or specifically provided for herein,
 post-petition interest shall not accrue or be paid on any Claims, and no holder of a Claim shall be
 entitled to interest accruing on or after the Petition Date on any Claim.

 J.     FRACTIONAL DOLLARS; DE MINIMIS DISTRIBUTIONS

         Notwithstanding anything contained herein to the contrary, payments of fractions of dollars
 will not be made. Whenever any payment of a fraction of a dollar under the Plan would otherwise
 be called for, the actual payment made will reflect a rounding of such fraction to the nearest dollar
 (up or down), with half dollars being rounded down. The Creditor Trustee will not direct any
 payment of less than twenty dollars ($20.00) on account of any Allowed Claim, unless a specific
 request therefor is made in writing to the Creditor Trustee within sixty (60) days of the Effective
 Date.

 K.     SET-OFFS

          Consistent with applicable law, the Creditor Trustee may, but shall not be required to, set-
 off against any Allowed Claim and the Distributions to be made pursuant to the Plan on account
 thereof (before any distribution is made on account of such Claim), the claims, rights and Causes of
 Action of any nature that the Creditor Trustee, the Debtors, their Estates, or Reorganized Mi
 Pueblo may hold against the Holder of such Allowed Claim; provided, however, that neither the
 failure to effect such a set-off nor the allowance of any Claim hereunder shall constitute a waiver or
 release by the Creditor Trustee, the Debtors, their Estates, or Reorganized Mi Pueblo of any such
 claims, rights and Causes of Action that the Creditor Trustee, the Debtors, their Estates, or
 Reorganized Mi Pueblo may possess against such Holder.

 L.     SETTLEMENT OF CLAIMS AND CONTROVERSIES

         Pursuant to Bankruptcy Rule 9019 and in consideration for the distributions and other
 benefits provided under the Plan, the provisions of this Plan shall constitute a good faith
 compromise of all Claims or controversies relating to the contractual, legal and subordination
 rights that a Holder of a Claim may have with respect to any Allowed Claim with respect thereto,
 or any distribution to be made on account of such an Allowed Claim. The entry of the
 Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or
 settlement of all such Claims or controversies, and the Bankruptcy Court’s finding that such

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 compromise or settlement is in the best interests of the Debtors, their Estates and Holders of Claims
 and is fair, equitable and reasonable.

                                     ARTICLE VI.
                              IMPLEMENTATION OF THE PLAN

 A.     CORPORATE ACTION

        Upon the entry of the Confirmation Order by the Bankruptcy Court, all matters provided
 under the Plan involving the corporate structure of Mi Pueblo shall be deemed authorized and
 approved without any requirement of further action by Mi Pueblo or Mi Pueblo’s shareholders.

        Upon entry of the Confirmation Order, Reorganized Mi Pueblo is also authorized, without
 the need for any or further order of the Bankruptcy Court, to take any and all actions reasonably
 necessary to effectuate the Plan.

 B.     POST-CONFIRMATION MANAGEMENT

         The initial CEO of Reorganized Mi Pueblo shall be the current CEO, Jaime Cueva. He
 shall be paid $105,000.00 per annum initially, and will be entitled to annual raises not to exceed
 three percent (3%), which raises shall be awarded at the discretion of the Creditor Trustee for so
 long as the Creditor Trust is in place. Daneen Cueva shall continue to serve as the Vice President
 of Reorganized Mi Pueblo, and shall also receive a salary of $105,000 per annum initially, and will
 be entitled to annual raises not to exceed three percent (3%), which raises shall be awarded at the
 discretion of the Creditor Trustee for so long as the Creditor Trust is in place.

        The Creditor Trustee, in its discretion, may terminate the employment of either Jaime or
 Daneen Cueva “for cause” on no less than sixty (60) days’ written notice. Cause, for purposes of
 this section, shall constitute the following (each, a “Termination Event,” and collectively,
 “Termination Events”):

        •       Breaches of fiduciary duty;

        •       Fraud or the making of fraudulent transfers;

        •       Misappropriation or theft of corporate opportunities of Reorganized Mi Pueblo;

        •       Commission of criminal activity, other than misdemeanor offenses wholly unrelated
                to the Debtor or its business, or simple traffic violations;

        •       Misappropriation of Reorganized Mi Pueblo’s assets for the benefit of a member of
                the Cueva family or any individual or entity having an affiliation or relationship
                with the Cuevas; and

        •       Repeated (defined as two or more consecutive fiscal quarters, or two non-
                consecutive quarters in a fiscal year) failure to generate sufficient Available Cash to
                make Distributions to Holders of Class 7 and 8 Claims in the aggregate amount of
                not less than $150,000.


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        In the event that the Creditor Trustee terminates the employment of either Jaime or Daneen
 Cueva for cause, Jaime or Daneen Cueva may challenge such termination by the filing of a motion
 with the Bankruptcy Court within ten (10) days of the effective date of termination.

        In the event that the Creditor Trustee terminates the employment of either Jaime or Daneen
 Cueva, and either (i) no timely challenge is made to such termination or (ii) the Bankruptcy Court
 denies a timely-made challenge, the terminated Insider shall be deemed to have surrendered his or
 her Equity Interests in Reorganized Mi Pueblo to the Creditor Trustee.

         Notwithstanding anything to the contrary in Mi Pueblo’s governing documents, during the
 Term of the Plan the CEO will manage Reorganized Mi Pueblo’s day-to-day operations and will
 report to the Creditor Trustee.

         Promptly following Confirmation, Reorganized Mi Pueblo will purchase director and
 officer liability insurance reasonably satisfactory to the Creditor Trustee. Reorganized Mi Pueblo
 shall also obtain, at its expense, a bond on the Creditor Trustee’s performance.

 C.     CANCELLATION OF NOTES, INSTRUMENTS, DEBENTURES AND EQUITY
        INTERESTS

        On the Effective Date, except to the extent provided otherwise in the Plan, the Bank Debt,
 and all notes, instruments, debentures, certificates and other documents evidencing the Lender
 Secured Claims, shall be deemed canceled, terminated, and surrendered (regardless of whether
 such notes, instruments, debentures, certificates or other documents are in fact surrendered for
 cancellation to the appropriate indenture trustee or other such Person).

 D.     FUTURE EQUITY DISPOSITION

         Upon the Effective Date, the Equity Interests in Mi Pueblo shall become the Equity
 Interests in Reorganized Mi Pueblo and shall remain titled in Jaime and Daneen Cueva, although
 subject to the Stock Pledge in favor of the Creditor Trust and the sole right of the Creditor Trustee
 thereunder to vote the Equity Interests throughout the Term of the Plan.

 E.     STOCK PLEDGE

         On the Effective Date, Jaime and Daneen Cueva shall grant to the Creditor Trust the Stock
 Pledge pledging their Equity Interests and granting a collateral assignment to the Creditor Trust
 throughout the Term of the Plan to secure the obligations of Reorganized Mi Pueblo under the
 Plan. The Stock Pledge shall expressly state that the Equity Interests of Reorganized Mi Pueblo
 will be subject to voting rights solely vested in the Creditor Trustee through the Term of the Plan;
 however, nothing in the Stock Pledge shall entitle the Creditor Trustee to exercise the voting rights
 in any manner inconsistent with the provisions of Article VI.D. Approval of the Stock Pledge and
 its essential provisions shall be expressly included in the Confirmation Order.

 F.     PROSECUTION AND TOLLING OF CAUSES OF ACTION

        The Creditor Trustee shall have sole authority to pursue (as Estate Representative) Causes
 of Action preserved hereunder (including, without limitation, to retain counsel to pursue same),
 which other than as set forth herein shall not require Bankruptcy Court approval, to settle such

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 Causes of Action, or to otherwise administer such Causes of Action as he deems appropriate with
 the ultimate objective of maximizing Available Proceeds. Notwithstanding the foregoing, the
 Creditor Trustee shall hold all Avoidance Actions against non-Insiders in abeyance, and shall
 endeavor to obtain tolling agreements with each potential defendant, with such actions to be
 released upon full payment to Holders of Class 7 and 8 Claims under this Plan. Should the
 Creditor Trustee determine that Holders of Class 7 and 8 Claims will not be paid in full due to the
 inability of Reorganized Mi Pueblo to generate Available Cash necessary to make Distributions, it
 may, in its sole discretion, file and prosecute all such tolled avoidance actions.

         The Creditor Trustee shall also hold in abeyance any Causes of Action that may be brought
 against Jaime and Daneen Cueva, and Jaime and Daneen Cueva shall execute a tolling agreement
 with respect to such Causes of Action as a condition precedent to the Effective Date of the Plan. In
 the event that either Jaime or Daneen Cueva is terminated for cause pursuant to Article VI.B of this
 Plan, the Creditor Trustee may, in its sole discretion, terminate the tolling agreement and prosecute
 the Causes of Action against the terminated Insider. Upon payment in full to all Holders of Claims
 against Mi Pueblo, all Causes of Action against Jaime and Daneen Cueva shall be waived and
 released in their entirety.

        The Committee, prior to Confirmation, and the Creditor Trustee, following the Effective
 Date, shall undertake an investigation of potential Causes of Action against Jaime and Daneen
 Cueva, and the Cuevas shall cooperate in good faith with such investigation. To the extent that the
 Committee or the Creditor Trustee determines that no viable Causes of Action exist against the
 Cuevas, or that such Causes of Action are unlikely to result in a material recover to the Estates, the
 Committee or the Creditor Trustee may, in their discretion, agree to enter into a mutual release with
 the Cuevas.

 G.     TERM OF THE PLAN

        The term of this Plan (the “Term of the Plan”) shall continue until the earlier of the
 following:

                (i)     all Allowed Claims have been paid in full pursuant to the provisions of the
        Plan;

                (ii)    the Creditor Trustee has conducted a sale or liquidation of substantially all of
        the assets of Reorganized Mi Pueblo pursuant to Article VI.I of the Plan, and the proceeds
        of such sale or liquidation have been distributed to the Holders of Allowed Claims pursuant
        to the provisions of this Plan, including all Allowed Class 7 and 8 Claims (without interest),
        with any excess proceeds in the Distribution Account being transferred to Reorganized Mi
        Pueblo; or

                (iii)   eighty-four (84) months following the Effective Date.

 H.     OPTION RIGHTS OF THE CUEVAS TO RETAIN EQUITY INTERESTS UNDER
        SPECIFIC CONDITIONS

        Pursuant to the provisions of the Stock Pledge, if and when all of the Allowed Claims have
 been paid in full, the Creditor Trustee shall release the Stock Pledge and Jaime and Daneen Cueva


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 shall be re-vested with full ownership of their Equity Interests free and clear of any and all liens
 and restrictions previously imposed by the Stock Pledge.

        In addition, Jaime and Daneen Cueva also may acquire the right to have the Stock Pledge
 released upon an offer to purchase Mi Pueblo’s assets for a price equal to the remaining balance
 owed on all outstanding Allowed Claims under the Plan plus the costs of administering such final
 Distributions and winding up the Creditor Trust. Such offer shall be accepted if adequately
 financed and performable within a reasonable time under the circumstances.

 I.     SALE OF REORGANIZED MI PUEBLO; DISTRIBUTIONS OF SALE PROCEEDS

         In the event that a Termination Event occurs, and is either (i) uncured by the Debtors within
 sixty (60) days of receipt of a written notice of Termination Event by the Creditor Trustee; or (ii)
 unsuccessfully challenged by the Cuevas in the Bankruptcy Court, the Creditor Trustee may, in its
 reasonable discretion, elect to sell either the Equity Interests or the assets of Reorganized Mi
 Pueblo by either a private sale or through a public auction process. In the event that the Creditor
 Trustee elects to sell the Equity Interests or assets, he shall provide at least thirty (30) days’ written
 notice to the Cuevas, who shall be permitted to make a cash offer for the Equity Interests or the
 assets, provided that such cash offer is sufficient to pay all Allowed Claims, as well as wind-down
 expenses of the Creditor Trust, in full.

         The proceeds of any sale or liquidation of the Equity Interests or assets of Reorganized Mi
 Pueblo shall be distributed to Creditors pursuant to provisions and priorities of this Plan. That
 means, for the sake of illustration, any proceeds from a liquidation or sale would be applied to the
 payment of Holders of Class 1 Claims first in the event of a sale or liquidation. Moreover,
 notwithstanding anything to the contrary in the Plan, in the event of a sale or liquidation, assuming
 Holders of Claims in Classes 1-4 have been previously paid in full, all funds would be used to
 satisfy Holders of Claims in Class 7, followed by Class 8.

 J.     INSURANCE PRESERVATION

        Nothing in the Plan, including any releases, shall diminish or impair the enforceability of
 any policies of insurance that may cover any claims against the Debtor or any other Entity.

 K.     OPPORTUNITY TO SUBMIT COMPETING BIDS PRIOR TO CONFIRMATION

         Any Person shall have the opportunity to submit competing bids for the Equity Interests or
 substantially all assets of Mi Pueblo. Any such competing bids must be all-cash offers, and the
 bidder must be prepared to close on any proposed transaction within thirty (30) days of the date of
 the Confirmation Hearing on the Plan. A competing bid will not be considered unless the
 following requirements are met: (i) the bid is in writing; (ii) includes evidence of the financial
 wherewithal of the bidder to timely close the transaction; (iii) contains all necessary corporate
 authorizations of the bidder; (iv) provides for the full payment of all Classes of Creditors of Mi
 Pueblo on materially more favorable terms than as set forth in the Plan; and (v) is submitted to
 counsel to Mi Pueblo and counsel to the Committee by no later than five (5) days prior to the
 Confirmation Hearing. To the extent that one or more bids meeting the foregoing requirements is
 received, Mi Pueblo and the Committee will either (i) present the bid for approval by the Court in
 lieu of confirmation of the Plan; or (ii) will request that an auction for the Equity Interests or Mi
 Pueblo’s assets will be conducted at the Confirmation Hearing.

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                                         ARTICLE VII.
                                       CREDITOR TRUST

         1.     On the Effective Date, Reorganized Mi Pueblo shall execute and deliver the
 Creditor Trust Agreement creating the Creditor Trust. The Creditor Trust Agreement shall be filed
 with the Bankruptcy Court in advance of the Confirmation Hearing. The Creditor Trust will be the
 beneficiary of the Stock Pledge. The Creditor Trustee shall be deemed to be appointed a
 representative of the Estate of Reorganized Mi Pueblo within the meaning of section 1123(b)(3)(B)
 of the Bankruptcy Code.

         2.      The Creditor Trust shall terminate automatically, without further order of the
 Bankruptcy Court, once the Creditor Trustee has either (a) fully administered his obligations under
 the Creditor Trust and the Plan and has filed a notice of such fact with the Bankruptcy Court or (b)
 filed a notice with the Bankruptcy Court terminating the Creditor Trust if continued administration
 has become uneconomical in the Creditor Trustee’s reasonable business judgment.

         3.      The initial Creditor Trustee shall be [NAME], and will be compensated on an hourly
 basis as set forth in the Creditor Trust Agreement. [NAME] may be replaced as provided for in the
 Creditor Trust Agreement.

        4.      Creditor Trust Expenses shall be paid by Reorganized Mi Pueblo in the ordinary
 course of business and without the need for Bankruptcy Court approval upon presentation by the
 Creditor Trustee of an invoice or invoices detailing such Creditor Trust Expenses.

                                 ARTICLE VIII.
                   EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Any executory contracts or unexpired leases which have not (i) expired by their own terms
 on or prior to the Effective Date; or (ii) been assumed, assumed and assigned, or rejected with the
 approval of the Bankruptcy Court, shall be deemed rejected by Mi Pueblo as of the Effective Date,
 and the entry of the Confirmation Order by the Bankruptcy Court shall constitute approval of the
 rejection of such executory contracts and unexpired leases pursuant to sections 365(a) and 1123 of
 the Bankruptcy Code. Any party affected by Article VIII of the Plan shall file a proof of claim by
 the Rejection Claims Bar Date in order for its Claim to be considered.

                                        ARTICLE IX.
                                  PRESERVATION OF RIGHTS

         Under the Plan, all rights of the Debtors to commence and pursue any and all Causes of
 Action (under any theory of law, including, without limitation, the Bankruptcy Code, and in any
 court or other tribunal including, without limitation, in an adversary proceeding filed in the
 Debtors’ Chapter 11 Cases), shall expressly be preserved and shall be deemed transferred to the
 applicable Debtor on the Effective Date, other than any Causes of Action against the Released
 Parties, and all other parties released by the Debtor under Article XI.F(1) or XI.F(3) of the Plan.

        Subject to the releases and exculpation provisions herein, potential Causes of Action which
 may be pursued after the Effective Date, also include, without limitation any other Causes of
 Action, whether legal, equitable or statutory in nature, arising out of, or in connection with the
 Debtor’s businesses or operations, including, without limitation, the following: possible claims

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 against vendors, landlords, sublessees, assignees, customers or suppliers for warranty, indemnity,
 back charge/set-off issues, overpayment or duplicate payment issues and collections/accounts
 receivables matters; deposits or other amounts owed by any creditor, lessor, utility, supplier,
 vendor, landlord, sublessee, assignee, or other Entity; employee, management or operational
 matters; claims against landlords, sublessees and assignees arising from the various leases,
 subleases and assignment agreement relating thereto, including, without limitation, claims for
 overcharges relating to taxes, common area maintenance and other similar charges; financial
 reporting; environmental, and product liability matters; actions against insurance carriers relating to
 coverage, indemnity or other matters; counterclaims and defenses relating to any Claims or other
 obligations; contract or tort claims which may exist or subsequently arise; and any and all
 Avoidance Actions pursuant to any applicable section of the Bankruptcy Code arising from any
 transaction involving or concerning the Debtor.

         Mi Pueblo shall also preserve any and all potential Insider Claims, which Insider Claims
 shall be deemed transferred to Reorganized Mi Pueblo on the Effective Date and may be pursued
 by the Creditor Trustee, as Estate Representative, in the Creditor Trustee’s discretion in accordance
 with Article VI.F of the Plan.

         In addition, there may be numerous other Causes of Action which currently exist or may
 subsequently arise that are not set forth herein or in the Disclosure Statement because the facts
 upon which such Causes of Action are based are not currently or fully known by the Debtors and,
 as a result, cannot be raised during the pendency of the Chapter 11 Cases. The failure to list any
 such unknown Cause of Action herein or in the Disclosure Statement is not intended to limit the
 right of the Creditor Trustee and/or the Debtors to pursue any unknown Cause of Action to the
 extent the facts underlying such unknown Cause of Action subsequently become fully known to the
 Debtors or the Creditor Trustee.

        The Debtors do not intend, and it should not be assumed that because any existing or
 potential Causes of Action have not yet been pursued by the Debtors or are not set forth herein, that
 any such Causes of Action have been waived.

         Unless Causes of Action against an Entity are expressly waived, relinquished, released
 pursuant to the Releases in Article XI.F, compromised or settled in the Plan, or any Final Order, the
 Debtors and the Creditor Trustee expressly reserve all Causes of Action, known or unknown, for
 later adjudication and therefore, no preclusion doctrine, including, without limitation, the doctrines
 of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable
 or otherwise) or laches shall apply to such Causes of Action upon or after the Confirmation or
 Consummation of the Plan.

         Except as otherwise provided in the Plan or in any contract, instrument, release, indenture
 or other agreement entered into in connection with the Plan, in accordance with section 1123(b)(3)
 of the Bankruptcy Code, any claims, rights, and Causes of Action that the Debtors may hold
 against any Entity shall vest in the Cuevas or Reorganized Mi Pueblo, as applicable, and the
 Creditor Trustee, as Estate Representative, shall retain and may enforce any and all such claims,
 rights, or Causes of Action, as appropriate, in his reasonable discretion. The Creditor Trustee, as
 Estate Representative, shall have the right, authority, and discretion to institute, prosecute,
 abandon, settle, or compromise any and all such claims, rights, and Causes of Action without the


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 consent or approval of any third party and without any further order of the Bankruptcy Court or any
 other court.

                                    ARTICLE X.
                      CONDITIONS PRECEDENT TO CONFIRMATION
                             AND THE EFFECTIVE DATE

 A.     CONDITIONS PRECEDENT TO THE EFFECTIVE DATE OF THE PLAN

         The occurrence of the Effective Date and the Consummation of the Plan are subject to
 satisfaction of the following conditions precedent:

         1.     Confirmation Order and Authorization. The Confirmation Order as entered by the
 Bankruptcy Court shall be a Final Order in full force and effect, in form and substance reasonably
 satisfactory to the Debtors and the Committee, and the Debtors shall be authorized to take all
 actions necessary or appropriate to enter into, implement and consummate the Plan and other
 agreements or documents created in connection with the Plan.

        2.      Execution of Documents; Other Actions. All actions (including the issuance of the
 New Note and the New Security Agreement, the execution of the Creditor Trust Agreement, the
 Stock Pledge, the tolling agreement with the Cuevas, and the execution of all other documents and
 agreements necessary to implement the Plan) shall have been executed and effectuated.

         3.      Effective Date Payments. Any and all payments required hereunder to be made
 prior to the Effective Date having been made.

         The Proponents may waive any of the conditions precedent to the occurrence of the
 Effective Date by filing a notice of waiver setting forth the terms of the waiver.

 B.     THE CONFIRMATION ORDER

         The Confirmation Order shall not be stayed and shall be effective immediately upon entry.
 If the Confirmation Order is vacated for whatever reason, the Plan shall be null and void in all
 respects and nothing contained in the Plan or the Disclosure Statement shall: (i) constitute a waiver
 or release of any Claims by or against, or any Equity Interests in the Debtor; (ii) prejudice in any
 manner the rights of the Debtor; or (iii) constitute an admission, acknowledgment, offer or
 undertaking by the Debtor.

                                       ARTICLE XI.
                              EFFECT OF PLAN CONFIRMATION

 A.     DISCHARGE

        Reorganized Mi Pueblo shall receive a discharge of its debts in accordance with section
 1141(d)(1) of the Bankruptcy Code as of the Effective Date, subject to the provisions of the Plan.
 The Cuevas shall receive a discharge of their debts upon the expiration of the Term of the Plan
 under Article VI.G or as otherwise in accordance with section 1141(d)(5) of the Bankruptcy Code.
 Nothing herein shall be construed to prohibit the Cuevas from requesting that the Court convert


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 their individual bankruptcy cases, under section 1112(a) of the Bankruptcy Code, to Chapter 7
 cases at any time before their discharge.

 B.     TERMINATION OF SUBORDINATION RIGHTS AND SETTLEMENT OF
        RELATED CLAIMS

         The classification and manner of satisfying all Claims and Equity Interests and the
 respective Distributions and treatments hereunder take into account and/or conform to the relative
 priority and rights of the Claims and Equity Interests in each Class in connection with any
 contractual, legal, and equitable subordination rights relating thereto whether arising under general
 principles of equitable subordination, Section 510(b) of the Bankruptcy Code or otherwise, and any
 and all such rights are settled, compromised and released pursuant to the Plan. The Confirmation
 Order shall permanently enjoin, effective as of the Effective Date, all Persons from enforcing
 or attempting to enforce any such contractual, legal and equitable subordination rights
 satisfied, compromised and settled in this manner.

 C.     INJUNCTION

         1.      Except as otherwise expressly provided in the Plan, all Parties that receive
 Distributions under the Plan and that have held, hold or may hold Claims against or Equity
 Interests in the Debtors are permanently enjoined, from and after the Effective Date, from
 taking any of the following actions against any of the Debtors, their Estates, Reorganized Mi
 Pueblo, or any of their property on account of any Claims or causes of action arising from
 events prior to the Effective Date: (i) commencing or continuing in any manner any action or
 other proceeding of any kind; (ii) enforcing, attaching, collecting or recovering by any
 manner or in any place or means any judgment, award, decree or order; (iii) creating,
 perfecting, or enforcing any Lien or encumbrance of any kind; and (iv) asserting any defense
 or right of setoff, subrogation or recoupment of any kind against any obligation, debt or
 liability due to the Debtors.

       2.      By accepting Distributions pursuant to the Plan, each Holder of an Allowed
 Claim receiving Distributions pursuant to the Plan will be deemed to have specifically
 consented to the injunctions set forth herein.

 D.     TERMS OF EXISTING INJUNCTIONS OR STAYS

        Unless otherwise provided, all injunctions or stays provided for in the Chapter 11 Cases
 pursuant to sections 105, 362 or 525 of the Bankruptcy Code, or otherwise, and in existence on the
 Confirmation Date, shall remain in full force and effect until Reorganized Mi Pueblo has made all
 Distributions required under the Plan and the Chapter 11 Cases have been closed. The
 Confirmation Order will permanently enjoin the commencement or prosecution by any Entity,
 whether directly, derivatively or otherwise, of any Claims, Equity Interests, obligations, suits,
 judgments, damages, demands, debts, rights, causes of action or liabilities released pursuant to the
 Plan.

 E.     EXCULPATION

       Subject to section 1125(e) of the Bankruptcy Code, neither the Debtors, their Estates,
 Reorganized Mi Pueblo nor any of their respective present or former officers, directors,

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 shareholders, employees, advisors, attorneys or agents acting in such capacity or their respective
 affiliates, shall have or incur any liability to, or be subject to any right of action by, the Debtors or
 any Holder of a Claim or an Equity Interest, or any other party in interest, or any of their respective
 agents, shareholders, employees, representatives, financial advisors, attorneys or affiliates, or any
 of their successors or assigns, for any act or omission in connection with, relating to, or arising out
 of, (a) any act taken or omitted to be taken on or after or in preparation for the Petition Date, (b) the
 Disclosure Statement, the Plan, and the documents necessary to effectuate the Plan, (c) the
 solicitation of acceptances and rejections of the Plan, (d) the releases or the solicitation thereof, (e)
 the Chapter 11 Cases, (f) the administration of the Plan, (g) the Distribution of property under the
 Plan, (h) any contract, instrument, release or other agreement or document created or entered into
 in connection with the Plan or the Chapter 11 Cases, and in all respects shall be entitled to rely
 reasonably upon the advice of counsel with respect to their duties and responsibilities under the
 Plan.

 F.     RELEASES

        1.      Releases by the Debtors. As of the Effective Date, for good and valuable
 consideration, the adequacy of which is hereby confirmed, the Debtors in their individual
 capacities and as debtors in possession, shall forever release, waive and discharge all claims,
 obligations, suits, judgments, demands, debts, rights, causes of action and liabilities, whether
 direct or derivative, liquidated or unliquidated, fixed or contingent, matured or unmatured,
 known or unknown, foreseen or unforeseen, then existing or thereafter arising, in law, equity
 or otherwise, that are based in whole or in part on any act or omission, transaction, event or
 other occurrence taking place on or prior to the Effective Date in any way relating to (i) the
 Debtors; (ii) the parties released pursuant to the releases; (iii) any act taken or omitted to be
 taken on or after the Petition Date; (iv) the Disclosure Statement, the Plan, and the
 documents necessary to effectuate the Plan; (v) the solicitation of acceptances and rejections
 of the Plan; (vi) the solicitation of the releases; (vii) the Chapter 11 Cases; (viii) the
 administration of the Plan; (ix) the property to be distributed under the Plan; or (x) any
 contract, instrument, release or other agreement or document created or entered into in
 connection with the Plan or the Chapter 11 Cases, against (a) the current and former
 directors, officers and employees (in their capacities as such) of the Debtors; (b) the Debtors’
 agents and Professionals and the Committee’s agents and Professionals; (c) each Holder of a
 Claim that votes to accept the Plan; and (d) Reorganized Mi Pueblo. Nothing herein shall
 operate as a release of the obligation of any insurance company of the Debtor to provide
 coverage in accordance with the terms of such policies. The foregoing release shall not
 include a release of the Insider Claims, which are subject to the provisions of Article VI.F.

         2.    Releases by Holders of Claims and Interests. As of the Effective Date, in
 exchange for accepting consideration pursuant to the Plan, all Holders of Claims that vote to
 accept the Plan, and the current and former directors, officers and employees of the Debtors
 (in their capacity as such) shall forever release, waive and discharge all Claims, obligations,
 suits, judgments, demands, debts, rights, causes of action and liabilities (other than the right
 to enforce the Debtors’ obligations under the Plan and the contracts, instruments, releases,
 agreements and documents delivered under the Plan), whether direct or derivative, liquidated
 or unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
 unforeseen, then existing or thereafter arising, in law, equity or otherwise, that are based in
 whole or in part on any act or omission, transaction, event or other occurrence taking place

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 on or prior to the Effective Date in any way relating to (i) the Debtors; (ii) the parties released
 pursuant to the releases; (iii) any act taken or omitted to be taken on or after the Petition
 Date; (iv) the Disclosure Statement, the Plan, and the documents necessary to effectuate the
 Plan; (v) the solicitation of acceptances and rejections of the Plan; (vi) the solicitation of the
 releases; (vii) the Chapter 11 Cases; (viii) the administration of the Plan; (ix) the property to
 be distributed under the Plan; or (x) any contract, instrument, release or other agreement or
 document created or entered into in connection with the Plan or the Chapter 11 Cases,
 against each of (a) the current and former directors, officers and employees (in their
 capacities as such) of the Debtors; (b) the Debtors’ agents and Professionals and the
 Committee’s agents and Professionals; (c) each Holder of a Claim that votes to accept the
 Plan; and (d) Reorganized Mi Pueblo. Nothing herein shall operate as a release of the
 obligation of any insurance company of the Debtor to provide coverage in accordance with
 the terms of such policies.

        3.      Release of Jaime and Daneen Cueva. Notwithstanding anything set forth in
 this Article X to the contrary, all Claims and Causes of Action of the Debtors or their Estates
 against Jaime and Daneen Cueva (i.e., the Insider Claims) will be released in accordance with
 Article VI.F of this Plan.

                                        ARTICLE XII.
                                       MISCELLANEOUS

 A.     PAYMENT OF STATUTORY FEES

         All fees payable pursuant to 28 U.S.C. § 1930, as determined by the Bankruptcy Court at
 the Confirmation Hearing or as may accrue thereafter prior to the entry of the Final Decree, shall
 be paid by the Debtors to the extent required by applicable law. The Debtors, the Creditor Trustee
 and Reorganized Mi Pueblo shall comply with payment and reporting requirements to the United
 States Trustee pursuant to 28 U.S.C. § 1930.

 B.     BUSINESS DAY

         If any payment or act under the Plan is required to be made or performed on a date that is
 not a Business Day, then the making of such payment or the performance of such act may be
 completed on the next succeeding Business Day, but shall be deemed to have been completed as of
 the required date.

 C.     SEVERABILITY

         The provisions of this Plan shall not be severable unless such severance is agreed to by the
 Proponents and such severance would constitute a permissible modification of the Plan pursuant to
 section 1127 of the Bankruptcy Code.

 D.     CONFLICTS

         To the extent that any provision of the Disclosure Statement, or any exhibits or schedules
 thereto, conflict with or are in any way inconsistent with the terms of the Plan, the Plan shall
 govern and control.


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 E.        FURTHER ASSURANCES

        The Debtors, Reorganized Mi Pueblo, all Holders of Claims receiving Distributions under
 the Plan, and all other parties in interest shall, from time to time, prepare, execute and deliver
 agreements or documents and take other actions as may be necessary or advisable to effectuate the
 provisions and intent of the Plan.

 F.        NOTICES

         All notices, requests, and demands required by the Plan or otherwise, to be effective, shall
 be in writing, including by facsimile transmission, and, unless otherwise expressly provided herein,
 shall be deemed to have been duly given or made when actually delivered to all of the following, or
 in the case of notice by facsimile transmission, when received by all of the following, addressed as
 follows or to such other addresses as filed with the Bankruptcy Court:

      To Mi Pueblo:                                   To the Cuevas:

      Mi Pueblo Latin Market, Inc.                    Padilla & Padilla, PLLC
      Jaime Cueva                                     Attn: Joaquin G. Padilla
      15421 E. Batavia Drive                          1753 Lafayette Street
      Aurora, Colorado 80011                          Denver, Colorado 80218
                                                      (303) 832-7145 (main)
                                                      (303) 832-7147 (facsimile)
                                                      Joaquin@padillalawoffices.com

      To Committee Counsel:                           To the Creditor Trustee:

      Goldstein & McClintock LLLP
      Attn: Thomas R. Fawkes
      208 South LaSalle, Suite 1750
      Chicago, Illinois 60604
      (312) 337-7700 (telephone)
      (312) 277-2305 (facsimile)
      tomf@goldmclaw.com

 G.        FILING OF ADDITIONAL DOCUMENTS

         On or before the Effective Date, the Debtors and the Committee may file with the
 Bankruptcy Court such agreements and other documents as may be necessary or appropriate to
 effectuate and further evidence the terms and conditions of the Plan.

 H.        SUCCESSORS AND ASSIGNS

        The rights, benefits, and obligations of any entity named or referred to in the Plan shall be
 binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or assign
 of such entity.




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 I.     CLOSING OF CASES

        The Chapter 11 Cases shall remain open until substantial consummation, as that term is
 defined in section 1101 of the Bankruptcy Code, has occurred. Once the foregoing has occurred,
 the Debtors will comply with all statutory provisions of the Bankruptcy Code and the Bankruptcy
 Rules in order to close their cases.

 J.     SECTION HEADINGS

         The section headings contained in this Plan are for reference purposes only and shall not
 affect in any way the meaning or interpretation of the Plan.

 K.     FURTHER INFORMATION

        Parties in interest should consult the accompanying Disclosure Statement for further
 information regarding the Debtors.

                                       ARTICLE XIII.
                                 RETENTION OF JURISDICTION

        The Plan provides that following the Confirmation Date and until such time as all payments
 and Distributions required to be made and all other obligations required to be performed under the
 Plan have been made and performed by the Debtors initiated in the Bankruptcy Court are resolved,
 the Bankruptcy Court shall retain sole jurisdiction to the full extent that retention thereof is legally
 permissible, including, without limitation, for the following purposes:

       1.      to enter such orders as may be necessary or appropriate to implement or
 consummate the provisions of the Plan and all contracts, instruments, releases, and other
 agreements or documents created in connection with the Plan;

          2.     to determine any and all motions, adversary proceedings, applications and contested
 or litigated matters that may be pending on the Effective Date or that, pursuant to the Plan, may be
 instituted by the Debtors after the Effective Date; provided, however, that the Debtors shall reserve
 the right to commence collection actions, actions to recover receivables and other similar actions in
 all appropriate jurisdictions;

         3.     to hear and determine any timely objections to Administrative Expense Claims and
 Priority Claims or to proofs of Claim and Equity Interests filed, both before and after the
 Confirmation Date, including any objections to the classification of any Claim or Equity Interest,
 and to allow, disallow, determine, liquidate, classify, estimate or establish the priority of or secured
 or unsecured status of any Claim, in whole or in part;

        4.     to enter and implement such orders as may be appropriate in the event the
 Confirmation Order is for any reason stayed, revoked, modified, reversed or vacated;

         5.     to issue such orders in aid of execution of the Plan, to the extent authorized by
 section 1142 of the Bankruptcy Code;




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        6.     to consider any modifications of the Plan, to cure any defect or omission, or
 reconcile any inconsistency in any order of the Bankruptcy Court, including the Confirmation
 Order;

         7.     to hear and determine all disputes or other matters relating to the assumption or
 rejection of executory contracts and unexpired leases, including issues pertaining to whether the
 non-debtor party’s interest in any deposit to secure the contractual obligations of the Debtors post-
 assumption is adequately protected;

        8.       to hear and determine all applications for awards of compensation for services
 rendered and reimbursement of expenses incurred prior to the Confirmation Date, and to consider
 requests for the employments of professionals by the Creditor Trustee to the limited extent required
 hereunder (in connection with preference actions);

         9.      to hear and determine disputes arising in connection with or relating to the Plan or
 the interpretation, implementation, or enforcement of the Plan, or the extent of any Entity’s
 obligations incurred in connection with or released or exculpated under the Plan;

        10.    to issue injunctions, enter and implement other orders or take such other actions as
 may be necessary or appropriate to restrain interference by any Entity with consummation or
 enforcement of the Plan;

         11.    to determine any other matters that may arise in connection with or are related to the
 Plan, the Disclosure Statement, the Confirmation Order or any contract, instrument, release or other
 agreement or document created in connection with the Plan or the Disclosure Statement to be
 executed in connection with the Plan;

        12.     to hear and determine matters concerning state, local and federal taxes in accordance
 with sections 346, 505, and 1146 of the Bankruptcy Code;

          13.    to hear any other matter or for any purpose specified in the Confirmation Order that
 is not inconsistent with the Bankruptcy Code;

        14.     to hear any motion to extend the time within which the Debtors must make
 Distributions after the Effective Date; and

        15.     to enter a Final Decree closing the Chapter 11 Cases.

                                  ARTICLE XIV.
              MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

 A.     MODIFICATION OF PLAN

        The Proponents reserve the right, in accordance with the Bankruptcy Code and the
 Bankruptcy Rules, in their discretion, to amend or modify the Plan at any time prior to the entry of
 the Confirmation Order. Upon entry of the Confirmation Order, the Proponents may, upon order of
 the Bankruptcy Court, amend or modify the Plan, in accordance with section 1127(b) of the
 Bankruptcy Code, or remedy any defect or omission or reconcile any inconsistency in the Plan in
 such manner as may be necessary to carry out the purpose and intent of the Plan. A Holder of a

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 Claim that has accepted the Plan shall be deemed to have accepted the Plan as modified if the
 proposed modification does not materially and adversely change the treatment of the Claim of such
 Holder and the votes of each Class for or against the Plan shall be counted and used in connection
 with the modified plan of reorganization.

 B.     REVOCATION, WITHDRAWAL, OR NON-CONSUMMATION

         The Proponents (or any one thereof) reserve the right to revoke or withdraw the Plan prior
 to the Confirmation Date and to file subsequent plans of reorganization. If the Proponents revokes
 or withdraws the Plan, or if the Confirmation Order confirming the Plan shall not be entered or
 become a Final Order, then (a) the Plan shall be null and void in all respects, (b) any settlement or
 compromise embodied in the Plan, assumption or rejection of executory contracts or leases affected
 by the Plan, and any document or agreement executed pursuant to the Plan, shall be deemed null
 and void, and (c) nothing contained in the Plan, and no acts taken in preparation for consummation
 of the Plan, shall (1) constitute a waiver or release of any Claims by or against, or any Equity
 Interests in, the Debtors, (2) prejudice in any manner the rights of the Debtors, (3) constitute an
 admission of any sort by the Debtors, or (4) constitute a release of any Causes of Action possessed
 or maintained by the Debtors.




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 Dated: October 7, 2015            Respectfully submitted,

                                   MI PUEBLO LATIN MARKET, INC.

                                   By:     /s/ Jaime Antonio Cueva
                                   Name: Jaime Antonio Cueva
                                   Title: Chief Executive Officer

                                   By:   /s/ Robert Padjen
                                   Name: Robert Padjen

                                   LAUFER AND PADJEN LLC
                                   Robert Padjen (#14678)
                                   5290 DTC Parkway, Suite 150
                                   Englewood, Colorado 80111
                                   (303) 830-3173 (main)
                                   (303) 850-7115 (facsimile)
                                   rp@jlrplaw.com

                                   Counsel to Mi Pueblo Latin Market, Inc.

                                   JAIME ANTONIO CUEVA

                                   By:   /s/ Jamie Antonio Cueva
                                   Name: Jaime Antonio Cueva

                                   DANEEN JANETTE CUEVA

                                   By:   /s/ Daneen Janette Cueva
                                   Name: Daneen Janette Cueva

                                   By:   /s/ Joaquin G. Padilla
                                   Name: Joaquin G. Padilla

                                   PADILLA & PADILLA, PLLC
                                   Joaquin G. Padilla
                                   1753 Lafayette Street
                                   Denver, Colorado 80218
                                   (303) 832-7145 (main)
                                   (303) 832-7147 (facsimile)
                                   Joaquin@padillalawoffices.com

                                   Counsel to Jaime Antonio Cueva and Daneen
                                   Janette Cueva




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                                   OFFICIAL COMMITTEE OF UNSECURED
                                   CREDITORS

                                   By:    /s/ Alison Vaughan Terry
                                   Name: Alison Vaughan Terry
                                   Its: Chairperson

                                   By:   /s/ Thomas R. Fawkes
                                   Name: Thomas R. Fawkes

                                   GOLDSTEIN & MCCLINTOCK LLLP
                                   Thomas R. Fawkes
                                   Brian J. Jackiw
                                   208 South LaSalle Street, Suite 1750
                                   Chicago, Illinois 60604
                                   (312) 337-7700 (main)
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                                   tomf@goldmclaw.com
                                   brianj@goldmclaw.com

                                   Counsel to the Official Committee of Unsecured
                                   Creditors




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